            Case 2:12-cv-00536-GMN-VCF Document 1233 Filed 01/08/19 Page 1 of 1


1

2                                      UNITED STATES DISTRICT COURT
3                                             DISTRICT OF NEVADA
4                                                         ***
5
      FEDERAL TRADE COMMISSION,
6

7
                               Plaintiff,
                                                             2:12-cv-00536-GMN-VCF
8     vs.                                                    ORDER
9     AMG SERVICES, INC., et al.,

10                            Defendants.

11            Before the court is pro se Kim Tucker’s Motion for Permission to File Electronically (ECF No.

12   1232).

13            Accordingly,

14            IT IS ORDERED Kim Tucker’s Motion for Permission to File Electronically (ECF No. 1232) is

15   GRANTED with the following provisions:

16            1.     On or before February 8, 2019, Ms. Tucker must provide certification that she has

17            completed the CM/ECF tutorial and is familiar with Part IC- Electronic Case Filing of the Local

18            Rules that is accessible on this Court’s website.

19            2.     Ms. Tucker is not authorized to file electronically until said certification is filed with the

20            Court within the time frame specified.

21            DATED this 8th day of January, 2019.
                                                                   _________________________
22                                                                 CAM FERENBACH
                                                                   UNITED STATES MAGISTRATE JUDGE
23

24

25
